Case 3:07-cr-00634-JAJ-TJS Document 48 Filed 06/27/08 Page 1of5

IN THE UNITED STATES DISTRICT COURT sg, ly

FOR THE SOUTHERN DISTRICT OF IOWA ty, ?Py
ges o Op
Aer
UNITED STATES OF AMERICA, ) "06, Upy
) A
Plaintiff, ) Criminal No. 3:07-cr-634
)
v. )
) STATEMENT BY DEFENDANT
ANDRELL THOMAS SANDERS, ) IN ADVANCE OF PLEA OF
aka Q, ) GUILTY
Defendant. )
PART A

I make the following representations to the Court:

1. lam @@ years of age. My education consists of feuth gra de.
I can read and understand English.

2. No threats or promises of any sort have been made to me to induce me or to
persuade me to enter this plea, except those contained in the written plea agreement.

3. No one has told me that I would receive probation or any other form of
leniency because of my plea.

4. Ihave discussed this case and this plea with my attorney as much as I wish to.

5. Iam satisfied with the representation provided by my attorney. I have no
complaint about the time or attention he has devoted to my case nor the advice he has given to
me.

6. My decision to enter this plea was made after full and careful thought, with the
advice of my attorney, and with a full understanding of my rights, the facts and circumstances of
the case and the consequences of the plea. I was not under the influence of any drugs,

medication or intoxicants when the decision to enter the plea was made and J am not now under
Case 3:07-cr-00634-JAJ-TJS Document 48 Filed 06/27/08 Page 2 of 5

the influence of any drugs, medication or intoxicants.

7. [have no mental reservations concerning pleading guilty. Although my
attorney has given me advice on this guilty plea, the decision to plead guilty is my own decision.

8. I understand that if 1 am on parole or probation for another offense, a guilty
plea in this proceeding may result in the revocation of my parole or probation and as a result I
may have to serve time in prison on the prior offense.

9. | understand that if I am not a citizen of the United States, a plea of guilty may
affect my right to remain in the United States, and I may be deported.

PARTB

My attomey and I have discussed the following facts and rights. I have had the
assistance of my attorney in reviewing, explaining and completing this form:

1. The nature of the charges against me have been explained. I have had an
opportunity to discuss the nature of the charges with my attorney, and I understand the charges
and the elements which the government is required to prove.

2. I know that ordinarily the subject offenses in Counts 1 and 2 of the
Superseding Indictment each carries a range of punishment of 10 years to life imprisonment, a
maximum fine of not more than $4,000,000, or both, and a special assessment of $100, and a
term of supervised release of at least 5 years. However, since I have at least two prior drug
felonies, the punishment is mandatory life imprisonment, a maximum fine of not more than
$8,000,000, or both and a special assessment of $100. If the defendant violates any condition of
supervised release following imprisonment, the defendant may be returned to prison for all or

part of the term of supervised release. I know that I may be required to make restitution to

-2-
Case 3:07-cr-00634-JAJ-TJS Document 48 Filed 06/27/08 Page 3 of 5

victims of my crime, and I understand that I may be required to pay all or some of the costs of
my imprisonment or supervision.

3. I know that if I do not plead guilty I will still have the right to be represented
by an attorney at every stage of the proceeding, including trial. I know that if I cannot afford an
attomey, one will be appointed to represent me.

4. I know that I have a right to plead "not guilty", and I know that if I do plead
"not guilty”, I can persist in that plea.

5. IT know that I have a right to a trial by jury, and I know that if I were to stand

trial by a jury:

a. I have a right to the assistance of an attorney at every stage of the
proceeding.

b. I have the right to see and observe the witnesses who testify against
me.

c. My attorney can cross-examine all witnesses who testify against
me.

d. I can call such witnesses as I desire, and I can obtain subpoenas to

require the attendance and testimony of those witnesses. If]
cannot afford to pay the witness and mileage fees of those
witnesses, the government will pay them.

e. I cannot be forced to testify at trial although I may do so if I so
desire.
f. If I do not want to testify, the jury will be told that they may draw

no adverse conclusion against me from my failure to testify.

g. The government must prove each and every element or part of the
offenses charged against me, that is, in Count | charges a violation
of Title 18, United States Code, Section 2, and Title 21, United
States Code, Sections 846 and 841(b)(1)(A), that is, conspiracy to
distribute at least 50 grams of a mixture and substance containing
cocaine base, a.k.a. “crack” cocaine and count 2 charges a violation

-3-

 
Case 3:07-cr-00634-JAJ-TJS Document 48 Filed 06/27/08 Page 4of 5

of Title 18, United States Code, Section 2 and Title 2] United
States Code, Sections 841 (a)(1) and 841(b}(1)(A), that is
possession with intent to distribute at least 50 grams of cocaine
base, a.k.a. “crack” cocaine.

h. It requires a unanimous verdict of a jury to convict me.

i. If I were to be convicted, I can appeal, and if I cannot afford to
appeal, the government will pay the costs of the appeal including
the services of an appointed attorney.

6. Under a plea of guilty, there will not be a trial of any kind. If] plead guilty I
am forever giving up my right to trial by jury.

7. No agreements have been reached, and no representations have been made to
me as to what the sentence will be, except as contained in the written plea agreement filed with
the Court.

8. I know that under a plea of guilty, the Special Assistant United States Attorney
and the judge may ask me questions under oath about the offense to which the plea is entered.
The questions, if asked on the record and in the presence of my attorney, must be answered by
me, and if I give false answers, I can be prosecuted for perjury.

9. [have a right to ask the Court any questions I wish to ask concerning my rights
or about these proceedings and the plea.

10. I understand that my sentence will be determined pursuant to the United
States Sentencing Guidelines. The method by which my sentence will be computed under the
Sentencing Guidelines has been explained to me by my attorney. I understand that:

a. Any representations by the government or my attorney concerning
what my sentence may be are merely estimations or
recommendations. The Court may reject the recommendations of

my attorney, the government, and the United States Probation
Office and impose a sentence which is more severe.

_4-
Case 3:07-cr-00634-JAJ-TJS Document 48 Filed 06/27/08 Page 5of5

b. If the Court imposes a sentence which is more severe than
recommended by my attorney, the government, or the United States
Probation Office, I will not be able to withdraw my plea of guilty.
Once the Court has accepted my plea of guilty, I may not later
withdraw it and demand a trial.

C. The United States Court of Appeals for the Eighth Circuit has
limited power to review sentences imposed under the Federal
Sentencing Guidelines. My attorney has explained my right to
appeal my sentence, and the limitations of my right to appeal! in the
plea agreement, and the government's right to appeal my sentence
under Title 18, United States Code, Section 3742.
PARTC
I know that I am free to change or delete anything contained in this statement
which is incorrect. I do not wish to make any changes because all of the statements are correct.
After reviewing all of the foregoing I still wish to plead guilty.
Date: b-LEG-0& bile Sad Jers
ANDRELL THOMAS SANDERS
Defendant
I certify that I have discussed this statement with the defendant. I have fully
explained to ANDRELL THOMAS SANDERS, his rights, and I have assisted him in completing

this form. I believe he understands his rights and this statement. I believe he is knowingly and

voluntarily entering the plea with full knowledge of his legal rights and that there is a factual

basis for the plea.

Date: 6-26 -& Pcs // tat.
Michael Galvin
Attorney for Defendant
